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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF GEORGIA
                            COLUMBUS DIVISION

JERRY NELSON, as personal       *
representative of the Estate of
Eddie Lee Nelson, Jr., and      *
MICHELE DUSHANE, as surviving
spouse of Eddie Lee Nelson,     *
Jr.,
                                *
     Plaintiffs,
                                              CASE NO. 4:20-CV-213 (CDL)
                                *
vs.
                                *
CORRECTHEALTH MUSCOGEE, LLC, et
al.,                            *

     Defendants.                     *


                                 O R D E R

     Eddie Lee Nelson, Jr. was a pretrial detainee at the Muscogee

County Jail when his cellmate killed him.               Plaintiffs are the

administrator of his estate and his surviving spouse.                Plaintiffs

assert that an intake nurse at the jail named Kimberley Braxton

knew the cellmate was likely to cause bodily harm to others but

did not take any action to prevent him from doing so.                Plaintiffs

brought   state   law   claims    against    Braxton    and    her   employer.

Plaintiffs   originally   named    CorrectHealth       Muscogee,     LLC   as   a

defendant and asserted that it was Braxton’s employer.               Plaintiffs

later added CorrectHealth, LLC as a defendant, and they claim that

it was also Braxton’s employer.      CorrectHealth Muscogee, LLC filed

a summary judgment motion, asserting that it was not Braxton’s
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employer.     As discussed below, the Court denies the motion (ECF

No. 240).

                        SUMMARY JUDGMENT STANDARD

       Summary judgment may be granted only “if the movant shows

that there is no genuine dispute as to any material fact and the

movant is entitled to judgment as a matter of law.”                  Fed. R. Civ.

P. 56(a).     In determining whether a genuine dispute of material

fact exists to defeat a motion for summary judgment, the evidence

is viewed in the light most favorable to the party opposing summary

judgment,     drawing   all     justifiable     inferences    in     the   opposing

party’s favor.     Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 255

(1986).      A fact is material if it is relevant or necessary to the

outcome of the suit.      Id. at 248.      A factual dispute is genuine if

the evidence would allow a reasonable jury to return a verdict for

the nonmoving party.       Id.

                              FACTUAL BACKGROUND

       There is no dispute that Braxton worked for CorrectHealth,

LLC: Braxton accepted a job offer from CorrectHealth, LLC, and her

W-2 for the relevant timeframe shows her employer as CorrectHealth,

LLC.     CorrectHealth Muscogee, LLC—not CorrectHealth, LLC—had an

agreement with the Muscogee County Sheriff to provide healthcare

services to inmates at the Muscogee County Jail.                   See Def.’s Mot.

Summ. J. Ex. 62, Health Services Agreement, ECF No. 240-3.                    Under

the Health Services Agreement, CorrectHealth Muscogee, LLC agreed



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to provide certain healthcare services for Jail inmates, including

intake screening and nursing care.             Id. § 1.2.       CorrectHealth

Muscogee, LLC undertook the obligation to “provide medical and

support    personnel   reasonably     necessary    for    the   rendering      of

healthcare services to inmates at the” jail, and it agreed that

the medical providers it provided to work in the Jail would meet

certain deadlines for health assessments, intake screenings, and

sick call requests.     Id. §§ 1.7, 2.1.

     The    Health   Services    Agreement     states    that   to   meet     its

obligations, CorrectHealth Muscogee, LLC would “engage certain

health care professionals as independent contractors rather than

as employees” and that although CorrectHealth Muscogee, LLC would

not exercise control over how the healthcare personnel practiced

medicine, it would “exercise administrative supervision” over the

medical professionals to ensure that CorrectHealth Muscogee, LLC

met its obligations to provide healthcare for Jail inmates.                   Id.

§ 2.5.    The Agreement also requires CorrectHealth Muscogee, LLC to

ensure that “each agent and subcontractor,” including any “nurses

performing    duties   as    agents   or   independent     contractors”       was

covered by professional liability insurance.               Id. §§ 2.5, 8.1.

The Agreement further provides that if the Jail’s command staff

expressed dissatisfaction with one of the providers CorrectHealth

Muscogee, LLC provided to the Jail, then CorrectHealth Muscogee,

LLC would work with the Jail to resolve the problem and, if


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necessary, remove the provider from the assignment and find a

replacement.       Id. § 2.3.      If there was a contract between the two

CorrectHealth entities regarding the assignment of CorrectHealth,

LLC employees to satisfy CorrectHealth Muscogee, LLC’s contractual

obligations at the Jail, neither side clearly pointed to it.

                                     DISCUSSION

       CorrectHealth         Muscogee,    LLC     argues       that      it    cannot     be

vicariously liable for Braxton’s conduct because it was not her

employer.       CorrectHealth Muscogee, LLC emphasizes that it did not

have an employment contract with Braxton, it called the medical

professionals it sent to the Jail “independent contractors,” and

it did not retain authority to supervise how the providers perform

their “professional medical duties.”               Id. § 2.5. Plaintiffs argue

that    there    is     sufficient   evidence      for     a    jury     to    find     that

CorrectHealth          Muscogee,    LLC    maintained      enough         control       over

Braxton’s       work    at   the   Jail   for    Braxton       to   be    an    agent    of

CorrectHealth Muscogee, LLC or a dual agent of both CorrectHealth

entities.

       Under Georgia law, an employer is generally not liable for

torts committed by an independent contractor—an “employee [who]

exercises an independent business and in it is not subject to the

immediate direction and control of the employer.”                        O.C.G.A. § 51-

2-4.      But    an    employer    may    be    liable   for    negligence        of     its

contractor if “the wrongful act is the violation of a duty imposed


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by express contract upon the employer” or if “the employer retains

the right to direct or control the time and manner of executing

the work.”     O.C.G.A. § 51-2-5(3), (5).      Neither side referenced

these statutes in their briefs. Plaintiffs did not expressly argue

that Braxton violated a duty imposed on CorrectHealth Muscogee,

LLC by express contract, but Plaintiff does contend that an agency

relationship    existed   between   CorrectHealth    Muscogee,     LLC     and

Braxton under which CorrectHealth Muscogee, LLC had the right to

control key aspects of Braxton’s work at the Jail.

     An agency relationship “arises wherever one person, expressly

or by implication, authorizes another to act for him.”             O.C.G.A.

§ 10-6-1.    So, an agency relationship exists if a contract “gives,

or the employer assumes, the right to control the time and manner

of executing the work, as distinguished from the right merely to

require results in conformity to the contract.” Kids R Kids Int'l,

Inc. v. Cope, 769 S.E.2d 616, 618 (Ga. Ct. App. 2015) (quoting

Pizza K, Inc. v. Santagata, 547 S.E.2d 405, 406 (Ga. Ct. App.

2001)).     A person may be an agent or employee of more than one

employer if both employers exercise sufficient control over the

employee’s work.    Enviromediation Servs., LLC v. Boatwright, 568

S.E.2d 117, 120 (Ga. Ct. App. 2002).        In Boatwright, for example,

there was enough evidence for a jury to conclude that a truck

driver was an agent of both his direct employer and the contractor

defendant that arranged for the employer to supply trucks and


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drivers   for    a   project    because      there   was    evidence   that     the

contractor defendant directed how the drivers did several aspects

of their work and had the power to decide whether a particular

driver could work on the job.          Id.

     In support of its argument that Braxton was not its agent,

CorrectHealth Muscogee, LLC points to Cope, which examines the

“special relationship” between a franchisor and franchisee.                  Cope,

769 S.E.2d at 618 (quoting DaimlerChrysler Motors Co.,v. Clemente,

668 S.E.2d 737, 745 (Ga. Ct. App. 2008)).              In that context, if a

franchisor does not reserve any right to control the time, manner

or   method     in   which   its   franchisee’s      employees     execute      the

requirements of the franchise agreement, then the franchisee is

not the franchisor’s agent. 1          Here, in contrast, CorrectHealth

Muscogee,     LLC    sent    medical   contractors     to    perform    specific

functions at the Jail, but it did so with serious strings attached.

Specifically, it reserved the right to “exercise administrative

supervision” of the medical personnel so it could “insure the

strict fulfillment of” its obligations to provide medical services


1 In a footnote, CorrectHealth Muscogee, LLC also cited Webb v. Day, 615
S.E.2d 570, 572 (Ga. Ct. App. 2005), which is not a franchisor-franchisee
case. In Webb, a farm hired a contractor to build a structure on its
property. The contractor rented a forklift. After the contractor left
the site one afternoon, a farm worker borrowed the forklift and convinced
the plaintiff to trim some tree limbs while standing on a plywood
platform attached to the forklift’s forks. The plaintiff fell and was
injured, and he argued that the farm worker who borrowed the forklift
was the contractor’s agent. But there was no agency relationship because
there was no evidence that the contractor had the right to control the
time and manner of the farm worker’s work. Id.


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to Jail inmates.    Health Services Agreement § 2.5. CorrectHealth

Muscogee, LLC also retained responsibility for resolving problems

that Jail command staff had with the medical personnel it sent to

the Jail, including the ultimate right to remove medical personnel

with whom the Jail command staff became dissatisfied.           Under these

circumstances, the Court finds that there is a jury question on

whether CorrectHealth Muscogee, LLC exercised sufficient control

over Braxton to be vicariously liable for her conduct.

                              CONCLUSION

     For   the   reasons     explained      above,    the     Court    denies

CorrectHealth Muscogee, LLC’s summary judgment motion (ECF No.

240).

     IT IS SO ORDERED, this 14th day of November, 2024.

                                       S/Clay D. Land
                                       CLAY D. LAND
                                       U.S. DISTRICT COURT JUDGE
                                       MIDDLE DISTRICT OF GEORGIA




                                   7
